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DOUG TOBLER 006196)_

HAMMOND & T BLER, P.C.

1212 E. OSBORN ROAD

PHOENIX, ARIZONA 85014-5531

§\602)266-2224 _
ttomeys for Defendant/Counterc1a1mant

THE UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF ARIZONA

SCOTTSDALE CAPITAL ADVISORS CaSe No.: CV04 1045PHXRCB
CORPORATION, an Arizona
Corporation,

. . T E
P1amtlff/Counterdefendant, §Q%¥€§IME%TI:IAIY§ECE§/[ENT-
ALTERNATIVELY MOTION FOR

SUMMARY JUDGMENT AS TO
V' SETTLEMENT AGREEMENT

RENEGADE PROMOTIONS, LLC, a

0 lA tR td
Coiorado limited liability company, ( m rg“men eques e )

Defendant/Counterclaimant.

 

 

 

 

Defendant, Renegade Promotions, LLC, pursuant to Rule 5 6, Fed.
R.Civ.Pro., hereby moves for summary judgment as to the Settlement
Agreement of the parties for the reason that there is no genuine issue of material
fact and Renegade is entitled to judgment as a matter of law. This Motion is
based upon the record and f11e herein, the attached Memorandum of Points and

Authorities, and the accompanying Statement of Facts and the Exhibits thereto.

 

 

 

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MEMORANDUM OF P()INTS AND AUTHORITIES

I~ F_A_CLS

The facts are set forth in a separate statement as required by Rule
1.10(1)(1), Rules of Practz‘ce, U.S. District Court for the District of Arizona. For
the convenience of the Court, they are briefly summarized here.

Plaintiff initiated this lawsuit in Maricopa County Superior Court for
breach of contract in April 2004. After removal from Maricopa County Superior
Court to this Court, Defendant filed its Answer and Counterclaim on May 27,
2004. In December, 2004, the parties agreed to settle this case at a mediation
conducted by LaWrence Fleischman. At that time, Renegade stipulated to a
judgment in the amount of $150,000 in favor of SCA. Notwithstanding the
stipulated judgment, the parties agreed on December 6, 2004 that judgment
Would not be entered provided that Renegade paid SCA $25,000 on February 1,
2005, $35,000 on August 1, 2005 and $45,000 on October 1, 2005. The parties
further agreed that in the event that Renegade paid $50,000 on July l, 2005, the
October l, 2005 payment Would not have to be made. In essence, the parties
agreed that if Renegade paid SCA $75,000 by July 1, 2005, the claim Was
settled.

The parties later entered into a separate, more formal Settlement

Agreement that recited the above payment terms, With the exception, that

 

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through inadvertence or mistake, the $35,000 payment that Was to be made on
August 1, 2005 Was listed as being due on July 1, 2005.

Renegade made the first payment of $25,000 before February l, 2005. lt
intended to pay the additional $50,000 in sufficient time so that the total amount
payable under the Agreement Would be limited to $75,000 pursuant to paragraph
1(d) of the Settlement Agreement. Given the discrepancies in the payment
schedules between the two Settlement Agreements, Renegade made an error.
Renegade believed that the 850,000 payment Was due on August 1, 2005.
Consequently, Renegade made a payment of 850,000 to SCA on August l,

2005 . Renegade, however, clearly indicated on the face of the certified check
that Was received by SCA on August 1, 2005 that it had "PAID IN FULL".

SCA negotiated the check Without protest. Three Weeks later, however,
SCA informed Renegade for the first time that SCA intended to apply the
$50,000 payment to the 835,000 payment it claimed Was due on either July 1, or
August 1 (depending upon Which of the two settlement agreements Was applied)
and apply the remaining $15,000 of the $45,000 to the payment that it claimed
Was due on October 1, 2005. Renegade took the position that it had paid in full.

The parties attempted to resolve this dispute, but they Were unable to do
so. On September 27, 2005 , SCA's counsel Wrote to Renegade's counsel

informing Renegade that unless it paid an additional $30,000 by October 1,

 

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2005, SCA would have the stipulated judgment entered and it would begin
collection efforts. Pursuant to the Settlement Agreement of the parties, if the
Court had entered such a judgment, Renegede would have owed an additional
380,000 rather than the $30,000 that SCA claimed was still owing pursuant to
Paragraph 1(d) of the Settlement Agreement ln order to prevent this great
forfeiture, Renegade paid SCA $30,000 under protest on September 30, 2005
and it has now filed this Motion for enforcement of the Settlement Agreement
and for return of the $30,000 that it paid under protest.

As discussed in detail below, SCA has been paid in full. By accepting
payment of the check marked as "PAID IN FULL" on August 1, 2005 , SCA
either waived its right to timely payment and accepted the payment as tendered
and/or it is bound by the doctrine of accord and satisfaction In either case, it
must return the $30,000.

II. DISCUSSION

A. Acceptance of the $50,000 check marked as "PAID IN FULL"
constituted waiver of the late pavment.

As set forth above, in the Settlement Agreement, the parties agreed that if
Renegade paid at total of $75,000 by July 1, 2005 , this would be considered full
payment. Renegade paid $75,000, but the final 850,000 was not paid by July 1,
2005, but rather it was paid by August 1, 2005. Although SCA accepted and

negotiated the check clearly marked as "PAID IN FULL", it now claims that it

 

 

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should not be responsible for the consequences of its intentional actions. The
law is to the contrary.

Where, as here, a party to a settlement agreement accepts a late payment,
it waives the right to declare a breach of the agreement Assocz`ated Buz'la’ers,
lnc. v. Coggins, 722 A.2d 1278 (Me. 1999). ln C0ggz`ns, as here, the defendant
entered into an agreement to pay a debt to the plaintiff in two installments In
Coggins, the first installment of $25,000 was due on July l, 1996 and the
second installment of $25,000 was due on July 1, 1997. The agreement
stipulated that if payments were not made as required by the agreement, an
additional $20,000 would be payable. The Coggz'ns defendant made the first
payment on time, but it made the second payment three days late. T he plaintiff
claimed a breach of contract and sued for the balance. The Maine Supreme
Court upheld summary judgment for the defendant on the grounds that there was
an accord and satisfaction and because the Plaintiff had waived its right to
timely payment. Application of these same principles to the present case
requires entry of judgment in favor of Renegade.

The Coggins court noted that the settlement agreement in that case
constituted an accord and that performance of the accord constituted
satisfaction The question before the Coggz'ns court was whether the defendant’s

late payment constituted a material breach of the accord. In analyzing the issue,

 

 

 

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the Coggz`ns court applied the five factors set forth in Restatement (Second) of
Contracts § 241 to determine that the breach was not material. The same
analysis yields the same result here.

The analysis is as follows: (a) The extent to which the injured party will
be deprived of the benefit which he reasonably expected Here, SCA expected
to receive $50,000 on July 1, 2005. SCA actually received $50,000 on August
l, 2005. Considering the Federal interest rate on judgments, SCA was deprived
of less than $400 by accepting the late payment, less than one percent of the
amount in dispute; (b) The extent to which the injured party can be adequately
compensated for the part of the benefit of which he was deprived ln this case,
Renegade stands ready to pay SCA any lost interest; (c) The extent to which the
party failing to perform will suffer forfeiture. lf the Court refuses to grant
Renegade's Motion, Renegade will suffer a loss of $30,000; (d) The likelihood
that the party failing to perform will cure his failure. Renegade has already cured
any claimed failure. lt has paid the money. lt has not only paid the money, it has
paid an additional 830,000 under protest; (e) The extent to which the behavior of
the party failing to perform comports with the standards of good faith and fair
dealing Renegade has paid everything it owed and more. vaiously, its actions

comported with the standards of good faith and fair dealing

 

 

 

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Therefore, applying the Restatement factors to the present case, it is clear
that any breach of the accord and satisfaction embodied in the December
Settlement Agreement was immaterial Since the breach was immaterial, the
satisfaction has been performed Therefore, like the defendant in Coggins,
Renegade is entitled to summary judgment lt is also entitled to the return of its
$30,000 paid under protest

Furthermore, even if the breach had been material and SCA could have
enforced the forfeiture, SCA waived that right when it accepted late payment
Waiver is the intentional relinquishment of a known right Northern Arizona
Gas Service, Inc. v. Petrolane Transport, Inc., 145 Ariz. 467, 476, 702 P.2d 696,
705 (App. 1984). Waiver may be express or inferred from conduct Ia’. A party
may waive a contractual right arising from a breach of late payment when that
party accepts tender of the late payment Associated Buz'lders, Inc. v. Coggins,
supra, at 1281. Here, SCA accepted a payment of $50,000 that plainly stated it
was "PAID lN FULL". T he $50,000 payment could only be attributable to the
amount due as full and final payment by July l, 2005. Having accepted the
payment on August 1, 2005 with that express condition, SCA intentionally
agreed to waive a claim that Renegade had breached the accord and satisfaction
by late payment Accordingly, Renegade is entitled to judgment

B. Renegade is also entitled to judgment because acceptance of the
$50,000 check constituted a new accord and satisfaction.

 

 

 

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ln Flagel v. Southwest Clinical Physz'atrists, P.C., 157 Ariz. 196, 755 P.2d
1184 (App. 1988), the elements of accord and satisfaction are set forth as
follows: (l) proper subject matter; (2) competent parties; (3) assent or meeting
of the minds of the parties; and (4) consideration Each of the elements exists
here. There was a proper subject matter, the parties were competent there was
an assent or meeting of the minds in that SCA accepted the check knowing that
the debt was to be considered as "paid in full" and there was consideration

Renegade understands that SCA will argue that the fourth element of an
accord and satisfaction was not present here. SCA's position is that as of August
l, 2005, there was a liquidated amount owing. Because that amount was
undisputed, there was no consideration for its acceptance of a lesser amount as
payment in full. According to SCA, the amount owing as of August l, 2005 was
the 835,000 due that date along with the $45,000 due on October l, 2005.

The flaw in SCA's reasoning is that it incorrectly assumes that there was
no dispute as to whether its acceptance of late payment constituted a waiver of
the right to timely payment Because the law, as discussed in Section ll(A)
above, provides that acceptance of late payment either may not be a material
breach of a contract or it may be considered a waiver of late payment on August
l, 2005, there was, at a minimum, a bona fide dispute as to whether the amount

paid on that date was the total amount owing. Therefore, the amount owing was

 

 

 

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in dispute. Accordingly, pursuant to Flagel v. Southwest Clz`nical Physiatrists
and A.R.S. § 47-3311, payment of the $50,000 was a proper accord and
satisfaction

ln addition, analytically, the reason that there must be a bona fide dispute
for an accord and satisfaction to be binding is that there must be legal
consideration for any agreement to accept less than the amount originally owing.
See Flagel v. Southwest Clinz`cal Physz'atrists, 157 Ariz. at 202. Here, there is a
separate basis for finding consideration Even if the August l payment of
$50,000 is considered to be late, even if the Court determines that the late
payment was not waived, even if the Court finds this late payment to be a
material breach, it is incontrovertible that a portion of that $50,000 was
prepayment of at least $15,000 of the settlement amount

The Settlement Agreement provided that payments were to be made
825,000 on February 1, 835,000 on August l and 845,000 on October 1.
Because Plaintiff paid 825,000 on February l, 2005 and $50,000 on August l,
2005, it prepaid by 815,000 any amounts that were owing by October l, 2005.
Under these circumstances, there was valid consideration for the accord and
satisfaction

Prepayment is valid consideration for an agreement to accept less than the

full amount of the debt First Hartfom’ Really Corp. v. Ellis, 434 A.2d 314, 319

 

 

 

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(Conn. 1980) (and See authorities cited therein); Melroy v. Kemmerer, 67 A. 699
(Pa. 1907); 1 Am. Jur. 2d Accora’ and Satz'sfaction § 36 Ann0.,' "Payment before
Maturity of Part of a Liquidated and Undisputed lndebtedness as Consideration
for its Acceptance as Satisfaction of the Entire Debt", 24 A.L.R. 1474; and
McCreary County v. Bybee, 193 S.W.Zd 423 (Ky. App. 1946).

The common law doctrine that prepayment of indebtedness is
consideration for an accord and satisfaction is not affected by the adoption of
A.R.S. § 47-3311. A.R.S. § 47-3311 was not intended to alter the common law
rules regarding accord and satisfaction except in certain very limited
circumstances that do not apply here. See Um'form Commercz'al Code Comment
3 which states in pertinent part as follows: "Section 3-311 follows the common
law rule with some minor variations to reflect modern business conditions . .
.Section 3-311 is based upon a belief that the common law rules produces a fair
result and that informal dispute resolution by full satisfaction check should be
encouraged".

Therefore, in addition to the other bases for granting summary judgment
to Renegade, Renegade's prepayment of a portion of its debt constitutes a
separate and sufficient basis for a finding that SCA is bound by the accord and
satisfaction it entered into by intentionally accepted the $50,000 denoted as

"PAID lN FULL".

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III. CONCLUSION
A motion to enforce settlement agreement is an appropriate mechanism
for resolving this dispute. Hays v. Fischer, 161 Ariz. 159, 777 P.2d 222 (1989).
For the reasons set forth above, Renegade hilly complied with the terms of the
Settlement Agreement when it paid and SCA accepted a check in the amount of
$50,000 marked as "PAlD lN FULL". Accordingly, Renegade is entitled to
summary judgment requiring SCA to return to Renegade the $30,000 paid under
protest on September 30, 2005. In addition, pursuant to paragraph ll(m) of the
second Settlement Agreement, Renegade is entitled to its reasonable attomey's
fees incurred in enforcing the Settlement Agreement
RESPECTFULLY SUBMITTED this 5th day of October, 2005.
HAMMOND & TOBLER, P.C.
Bv: /s/ Doug Tobler - #006196

Doug Tobler, Attomey for
Defendant/Counterclaimant

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Original of the foregoing filed electronically
this 5th day of October, 2005, with:

CLERK OF THE UNITED STATES DISTRICT COURT
DlSTRlCT OF ARIZONA

SANDRA DAY O'CONNOR U.S. COURTHOUSE

401 W. WASHINGTON STREET, SUITE 130, SPC 1

PHOENIX, AZ 85003-2118

One copy the foregoing hand-delivered
this 5th day of October, 2005, to:

HONORABLE ROBERT C. BROOMFIELD
SANDRA DAY O'CONNOR U.S. COURTHOUSE
401 W. WASHINGTON STREET, SUlTE 130, SPC 1
PHOENIX, AZ 85003-2118

One copy of the foregoing mailed
this 5th day of October, 2005, to:

JEFFREY J. GOULDER, ESQ.
STlNSON MORRISON HECKER L.L.P.
1850 N. CENTRAL AVE., SUlTE 2100
PHOENIX, AZ 85004

Attomey for Plaintiff/Counterdefendant

/s/ Donna A. Belowskv

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